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Exhibit A
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         CIVIL COURT OF THE CITY OF NEW YORK
         COUNTY OF KINGS
         ____________________________________________X


         GLORY OF GOD GLOBAL MINISTRY INC.,                            Index #
                                      Petitioner-Tenant                VERIFIED PETITION IN
                       against                                         SUPPORT OF AN ORDER
                                                                       TO SHOW CAUSE
         5904 FOSTER AVENUE TRUST,                                     To Restore to Possession
                              Respondent-Owner                         [RPAPL § 713 (10)]

                                                                       Petitioner’s Address:
         ____________________________________________X                 5904 Foster Avenue
                                                                       Brooklyn, New York 11234

            1. I, Petitioner, GLORY OF GOD GLOBAL MINISTRY INC. (“Petitioner”) am the lawful

               occupant of the space listed above as Petitioner’s address and have been in possession of

               5904 Foster Avenue, Brooklyn, New York 11234 (“Space”) since 2014.

            2. Respondent, 5904 FOSTER AVENUE TRUST (“Respondent”) is the owner of the

               Space and is in possession of the Space at this time.

            3. Respondent unlawfully or with force entered the Space or Respondent remained in

               possession of the Space unlawfully or with force, keeping me from possession.

            4. Respondent did the above on December 14, 2022 at 8:00 p.m.

            5. Respondent continues to keep me from possession.

            6. Respondent or Respondent’s predecessor in interest did not quietly possess the Space for

               three (3) years before Respondent entered or remained in possession of the Space

               unlawfully or with force.

            7. When Respondent took over the Space, I physically occupied the Space peaceably or I

               had a right to occupy the premises because of a lease or other legal basis. No court




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               order exists directing me to stay away from the Space, including any restraining

               orders or orders of protection.

            8. I request that the court enter a judgment:

               a) Awarding and restoring me to possession of the Space pursuant to RPAPL § 713 (10);

               b) Providing for the issuance of a warrant of eviction immediately, together with costs

                   and disbursements; and

               c) Awarding me triple damages pursuant to RPAPL § 853; and

               d) Finding Respondent’s acts constitute commercial tenant harassment pursuant to § 22-

                   902 (7) and awarding damages.

            9. I also request that the court give me permission to serve these papers in person, and such

               other relief as this Court deems proper.

            10. No prior application has been made for the relief sought in this document.




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                                                    VERIFICATION

                  STATE OF NEW YORK                 )

                                                    ) ss.:

                  COUNTY OF NEW YORK                )



                  Nicholas G. Yokos, one of the attorneys for the Petitioner herein, hereby affirms

                  under the penalties of perjury and pursuant to CPLR 2106 that I have read said

                  Petition and knows the contents thereof; and that upon information and belief the

                  contents thereof are true. The source of affirmant’s information and belief are oral

                  statements, books and records furnished by the Petitioner, its agents and/or employees

                  and materials contained in my office files. The reason this verification is made by

                  counsel is because RPAPL 741 authorizes same.



                  Dated:     New York, New York
                             December 15, 2022

                                                                   ___________________________
                                                                      Nicholas G. Yokos, Esq.
                                                                      Attorney for Petitioner




                                                    3 of 3
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This is a copy of a pleading filed electronically pursuant to Uniform Rules of the New York State Trial Courts
(22 NYCRR §208.4-a(b)(2)) which, at the time of its printout from the court system's electronic website, had not
yet been reviewed and approved by the Office of the Chief Clerk of the Civil Court. Because court rules
(22 NYCRR §202.5[d]) as applicable pursuant to CCA §2102 authorize the Chief Clerk of the Civil Court to reject
filings for various reasons, readers should be aware that 1documents
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accepted for filing by said Office.
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          CIVIL COURT OF THE CITY OF NEW YORK
          COUNTY OF KINGS                                                       Index #
          ______________________________________________X
          GLORY OF GOD GLOBAL MINISTRY INC.,                            ATTORNEY AFFIRMATION
                              Petitioner-Tenant                       IN SUPPORT OF PETITIONER’S
                                                                         ORDER TO SHOW CAUSE
                  against                                            TO BE RESTORE TO POSSESSION

          5904 FOSTER AVENUE TRUST,
                                          Respondent-Owner
          _______________________________________________X

                  NICHOLAS YOKOS, an attorney duly admitted to practice before the Courts of the State

          of New York, does hereby affirm pursuant to Civil Practice Law and Rules (hereinafter "CPLR")

          §2106 and N.Y.C.R.R. §130-1.1(a), and the penalty of perjury as follows:

                  1.        I am of counsel to the law firm of Kucker Marino Winiarsky & Bittens, LLP.,

          attorneys for the Petitioner-Tenant, GLORY OF GOD GLOBAL MINISTRY (“Petitioner”), and as

          such I am fully familiar with the facts herein.

                  2.        This affirmation along with the affidavit of Fumni Williams (the “Williams

          Affidavit”) are respectfully submitted in support of Petitioner’s order to show cause pursuant to

          RPAPL §713(10) and/or RPAPL §853 and/or § 22-902 (7): (i) restoring Petitioner to possession

          forthwith; and (ii) finding 5904 FOSTER AVENUE TRUST (“Respondent”) actions constitute

          an unlawful eviction; and (iii) scheduling a hearing to determine Petitioner’s treble damages; and

          (iv) finding Respondent’s actions constitute commercial tenant harassment and awarding

          Petitioner damages; and (v) for such other and further relief in favor of Petitioner as this court may

          deem just and proper in the circumstances.

                  3.        Here, Petitioner was deprived of possession of the commercial premises located at

          5904 Foster Avenue, Brooklyn, New York 11234 (“Subject Building”) without legal process and is

          entitled to be restored immediately to possession of the Subject Building as well as to damages

                                                              3


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          resulting from this extra-judicial eviction.

                   4.       In or about 2014, Petitioner took possession of the Subject Building pursuant to its

          relationship with Triple C’s Venture, LLC (“Triple C”). Triple C was formerly the deeded owner of

          the Subject Building. See Williams Affidavit. An attorney certified copy of the deed reflecting Triple

          C as owner of the Subject Building is annexed hereto as Exhibit “A”.

                   5.       Indeed, Triple C and Petitioner believe they were the victims of a fraud perpetrated

          by Respondent with respect to transfer of ownership of the Subject Building and are taking steps to

          pursue appropriate relief through the Supreme Court of the State of New York, County of Kings.

                   6.       Notwithstanding, Petitioner has remained in continuous occupancy of the Subject

          Premises from 2014 until December 14, 2022 at approximately 8 p.m. when it was illegally evicted

          by Respondent.1 See Williams Affidavit.

                   7.       As Petitioner was in continuous possession of the Subject Building for more than

          thirty (30) days, legal process is mandatory before an eviction can occur.

                   8.       Indeed, Respondent is well aware of this fact and has flagrantly violated the law, as

          Respondent sought an ejectment of Triple C from the Subject Premises in the Supreme Court of the

          City of New York, County of Kings in the action entitled NYCTL 2017-A Trust v. YYSB Trust, et

          al, under Index # 504666/18. Respondent’s order to show cause for ejectment in that action was

          denied pursuant to an Order of the Court dated September 6, 2022 (Hon. Mark Partnow, J.S.C.). A

          true copy of the September 6, 2022 order is annexed hereto as Exhibit “B”.

                   9.       Additionally, Respondent served a ten (10) day notice upon Petitioner and Triple C

          dated November 9, 2022, and seeking to recover possession of the Subject Building. Following


          1
            Upon information and belief, the New York Police Department may have unlawfully aided and abetted
          Respondent’s illegal December 14, 2022 eviction of Petitioner from the Subject Building in the absence of a
          judgment of possession, warrant of eviction, and/or writ of ejectment, in violation of Petitioner’s civil and
          constitutional rights. See Williams Affidavit.

                                                                    4


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          expiration of the notice, rather than seeking a judicial order permitting an eviction of Petitioner,

          Respondent instead acted in willful disregard of the law and committed an illegal eviction on

          December 14, 2022. A true copy of the November 9, 2022 notice is annexed hereto as Exhibit “C”.

                   10.   The Supreme Court Order and the November 9, 2022 notice constitute prima facie

          and irrefutable acknowledgment by Respondent that Petitioner was in possession of the Subject

          Building.

                   11.   Notwithstanding the claims of fraud Petitioner intends to pursue in Supreme Court,

          the current recorded deed for the Subject Building reflects that Respondent is the current owner of the

          Subject Building. An attorney-certified copy of the deed reflecting such is annexed hereto as Exhibit

          “D”.

                   12.   Respondents did not obtain a judicial warrant of eviction and/or writ of ejectment

          before illegally changing the locks to the Subject Building on December 14, 2022. Respondents

          removed the Petitioner’s locks and installed a new lock without providing keys to Petitioner. See

          Williams Affidavit. True copies of photographs reflecting such are annexed hereto as Exhibit “E”.

                   13.   As set forth in the Williams Affidavit, no court proceeding or action led to any order

          authorizing the Respondent’s changing of the locks, nor did Petitioner surrender possession of the

          Subject Building.

                   14.   Furthermore, the Subject Building is home to a congregation which conducts Sunday

          services for hundreds of neighborhood members all of whom are now locked out of the Subject

          Building based upon Petitioner’s illegal acts. See Williams Affidavit.

                   15.   Upon information and belief, there has been no rental by Respondent to any third-

          party.

                   16.   It is well settled law that a landlord may not attempt to evict a tenant without first



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         bringing a proceeding and obtaining a judgment of possession and warrant of eviction. Self-help

         is a tort and entitles the party wrongfully removed to damages. See Romanello v. Hirschfeld, 63

         N.Y.2d 613, 614–15, 468 N.E.2d 701, 701 (Court of Appeals, 1984).

                 17.     Furthermore, Respondent’s acts constitute commercial tenant harassment pursuant to

         § 22-902 (7).

                 18.     Moreover, self help violates New York City’s Illegal Eviction law; to wit: §26-521

         of the Administrative Code. This law serves the purpose of deterring landlords from improper

         harassment and intimidation to evict tenants.

                 19.     Moreover, Real Property Actions and Proceedings Law §853 is very specific

         regarding damages for illegal lockouts and provides in pertinent part:

                         If a person is disseized, ejected or put out of real property
                         in a forcible or unlawful manner,...he is entitled to recover
                         treble damages in an action therefor against the wrongdoer.


                 20.     Petitioner has been damaged and will continue to be damaged by the actions of the

         Respondent until its wrongful acts and conduct are enjoined and possession of the Subject Building

         is returned to Petitioner.

                 21.     Based upon the foregoing, it is respectfully submitted that Petitioner’s motion be

         granted in the entirety, and a hearing scheduled for damages.

                 22.     No prior request has been made by Petitioner for the relief sought herein.




                                                           6


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                WHEREFORE, the Petitioner respectfully requests that this Court grant the Petitioner’s

         Order to Show Cause in its entirety, together with such other and further relief as the Court deems

         just and proper.

         Dated: New York, New York
                December 15, 2022
                                                                     _________________________
                                                                     Nicholas Yokos




                                                         7


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         CIVIL COURT OF THE CITY OF NEW YORK
         COUNTY OF KINGS                                                         Index #
         ______________________________________________X
         GLORY OF GOD GLOBAL MINISTRY INC.,                                     AFFIDAVIT
                             Petitioner-Tenant                         IN SUPPORT OF PETITIONER’S
                                                                          ORDER TO SHOW CAUSE
                against                                               TO BE RESTORE TO POSSESSION

         5904 FOSTER AVENUE TRUST,
                                         Respondent-Owner
         _______________________________________________X

         STATE OF NEW YORK               )
                                                 ) ss:
         COUNTY OF KINGS                 )

         FUMNI WILLIAMS, being duly sworn, hereby deposes and says:

                1.        I am a senior pastor and officer of GLORY OF GOD GLOBAL MINISTRY INC.

         (“Petitioner”) and a member of Triple C’s Venture, LLC (“Triple C”), the respective tenant-occupants

         and former deeded owners of 5904 Foster Avenue, Brooklyn, New York 11234 (“Subject

         Building”). As such, I am fully familiar with facts and circumstances set forth herein.

                2.        This affidavit is respectfully submitted in support of Petitioner’s cross-motion and in

         support of Petitioner’s order to show cause pursuant to RPAPL §713(10) and/or RPAPL §853

         and/or § 22-902 (7): (i) restoring Petitioner to possession forthwith; and (ii) finding 5904 FOSTER

         AVENUE TRUST (“Respondent”) actions constitute an unlawful eviction; and (iii) scheduling a

         hearing to determine Petitioner’s treble damages; and (iv) finding Respondent’s actions constitute

         commercial tenant harassment and awarding Petitioner damages; and (v) for such other and further

         relief in favor of Petitioner as this court may deem just and proper in the circumstances.

                3.        In or about 2014, Petitioner took possession of the Subject Building pursuant to its

         relationship with Triple C’s Venture, LLC (“Triple C”). Triple C was formerly the deeded owner of



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         the Subject Building.2 An attorney certified copy of the deed reflecting Triple C as owner of the

         Subject Building is annexed hereto as Exhibit “A”.

                  4.       Notwithstanding Petitioner’s claims of fraud with respect to the deed to be pursued in

         Supreme Court, Petitioner has remained in continuous occupancy of the Subject Premises from 2014

         until December 14, 2022 at approximately 8 p.m. when it was illegally evicted by Respondent.3

                  5.       The Petitioner never vacated the Subject Premises or surrendered possession to the

         Respondent and it was a shocking and traumatic event when Respondent illegally changed the

         locks to the Subject Premises on December 14, 2022 without legal process. See Exhibit “E”.

                  6.       This is particularly true since Respondent’s court attempt to seek an order of

         ejectment against Petitioner in the Supreme Court of the City of New York, County of Kings in the

         action entitled NYCTL 2017-A Trust v. YYSB Trust, et al, under Index # 504666/18 was denied

         pursuant to an Order of the Court dated September 6, 2022 (Hon. Mark Partnow, J.S.C.). A true copy

         of the September 6, 2022 order is annexed hereto as Exhibit “B”.

                  7.       Even more distressing is that the Subject Building is home to a congregation which

         conducts Sunday services for hundreds of neighborhood members all of whom are now locked out of

         the Subject Building based upon Petitioner’s illegal acts.

                  8.       Myself, Petitioner, and our entire congregation are outraged that Respondent has taken

         the law into its own hands by changing the locks. My attorney advises me that we are entitled to

         immediate relief including treble damages and that Respondent’s actions also constitute commercial



         2
          Triple C and Petitioner believe they were the victims of a fraud perpetrated by Respondent with respect to transfer of
         ownership of the Subject Building and are taking steps to pursue appropriate relief through the Supreme Court of the State
         of New York, County of Kings. See Williams Affidavit.

         3
           Upon information and belief, the New York Police Department may have unlawfully aided and abetted
         Respondent’s illegal December 14, 2022 eviction of Petitioner from the Subject Building in the absence of a
         judgment of possession, warrant of eviction, and/or writ of ejectment, in violation of Petitioner’s civil and
         constitutional rights. See Williams Affidavit.

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         tenant harassment.

                 9.     Equally distressing, upon information and belief, upon changing the locks and

         entering the Subject Building on December 14, 2022, Respondent damaged Petitioner’s property

         including but not limited to disconnecting security cameras and tampering and/or removing other

         items belonging to Petitioner.

                 10.    Based on the Respondent’s flagrant disregard for the law, I request that the

         Petitioner forthwith be restored to possession and that a hearing be scheduled on its treble damages

         and commercial tenant harassment which includes but is not limited to damages and attorney’s

         fees.




                                          [SIGNATURE PAGE TO FOLLOW]



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                                                     Movant                         requests       that   this   Court     grant   its Order          to Show
                     WHEREFORE,                                  respectfully


                                                                          other    and   further      relief     as the    Court   deems       just     and
         Cause      in its        entirety   together     with    such



         proper.




                                                                                                                         Wilhams




          Sworn      to before           me this

          15*                                      2022
                   day     of December




                                                                                   NATANA          DIMITRIENKO
          Notary         Public
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                Nicholas Yokos, Esq., an attorney duly admitted to practice before the Courts of the State of
         New York certifies and affirms pursuant to CPLR 2105 and CPLR 4543 that this copy has been compared
         by me with the original electronically filed on ACRIS, and found to be a true and complete copy.



         Dated: December 15 2022




                                                               ________________________________

                                                                       Nicholas Yokos, Esq.
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                                                                                                                                                                                                                        New      York,
                                                                                                                                                                                 Kings      County,           located        at 3Æ0 Adams
                                                                                                                                                                                 Street,    Brooklyn              New    York,       on the
                                                                                                                                                                                           day of september                          , 2022   .




                 PRESENT:                     Hon.         Mark           L Partnow
                                                                                                                                     , JSC


                  NYCTL            2017-A            Trust



.
                                                                - against         -
                                                                                                                   h                                        InderNo.              504666                     /2018


                  YYSB                     et al,                                                                                                           Cal          No.
        .                      Trust,                                                                                                                                                                                           .



                                                                                                               Deferniantp)



                  Recitation            of the        papers            considered                 in    review             of his        motion:
                                                                                                                                                                                          kapers         Nunrbered
                  Notice of Motion - Order to Show
                                                    Cause
                  and AMdavits
                                 (Affirmations) Annexed                                                                     . .

                  Answering          Affidavit       (Affirmation)

                  Reply Amdavit            (Affumation)
                  Affidavit
                                  (Affirmation)

                 Pleadings        - Exhibits

                 Stipulations        - Minutes

                 Filed Papers



                5904        Foster        Aveliue               Trust's               order        to    show               cause         (sequence
               Venture's                                                                                                                                          5) to        direct        Triple           C's
                                      ejectment                 from         the        premises               located               at 5904            Fostet           Avenue            is
               without         prejudice                 with                                                                                                                                     denied,
                                                                      leave            to    renew.           Movant                 has     failed         to     submit
               proper         notice                                                                                                                                                evidence                 of
                                              pursuant               to    RPAPL                   713        and       RPAPL               735         (see      21st         Mqrtgage
               Corporation               v.                     187       AD3d
                                                 Hall,                                       742        [2d     Dept           2020]).            To       the       extent        movant
               under        some        other                                                                                                                                                           is
                                                                                                                                                                                                             moving
                                                         statutory            authority,                   movant              fails       to    cite      to     said                             (see
               generally,            NY                                                                                                                                       authority
                                                                                                                                    50     Misc.3d                         541
                                                                                                                                                                 537,                [Sup         Ct,        Kings
              County          2015]).            The         portion              of        the    order           to   show             cause        to   enjoin          Triple           C's
              from       taking         any                                                                                                                                                           Venture
                                                  action           to      sell         transfer,             alienate              or     encumber
              For clerks       use only                                                                                                                              any       interest         is denied               as
              MG 1,____j
              Mo
              Motion     S q. #                                                                                                                                  E      N T E R


                                                                                                                                                           Mark         Partno.


                                                                                                                                                                  JSC




                                                                                                         1    of        2
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                                                                                                                       Dated:         9              /6           /2022




           Index      No.504666                    /2018


                             NYCTL
           Plaintyf(s)
                                           2017-A          Trust
                                                                                        g       gw,ag(,               YYSB      Trust,         et at




           according           to   the   documents                submitted       in    this    action,     the    current      owner                of   the
           property       is    YYSB           Trust.      Triple       C's    Venture's          previous         attempt       to       intervene              as the
           purported.owner                of     the                     was    denied
                                                        property                                by order      dated      May          13,      2022.




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                                      Exhibit C
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                                                                              NYSCEF:
                             5904   FOSTER     AVENUE       TRUST

                                                   c/o            RICHARD                                   E.       YELLEN                                &      ASSOCIATES,                                             LLP

                                                                                  i       n            SROADWAY,                                            SUfTE                   1403

                                                                               NEW                     YORK                         NEW YORK                                     10006




                     To      edch      of:     .                                                             .                  .


                      Glory         of God           ClobaLM                           stry         ne
                      Triple        C'swentwes                          ;I     C                                           .
                                                                                                                                                                                        ..
         .              asterEiff             iáms
                       ohYD            6, Janc            hoc           arid          XYC ILC
                      and            , wties             claiming              right           w    j…ssession.                      .
             . therethrough                         relating                to the         béfo
             .        referenced             Prernises                  .             .                                    ;                .
                      5904       Foster            Avenue
                      Brooklyn,              NY

                                     he:       5904           Foster              Avenue,                BrooIdyn                    NY                           .


                                    PLEA5E           TÅKE         NOTICE                  th   t the       rea        roperty               and      6 rilding         thereonÉnown                          as and             located       .at 5904
                       oste      Avenue)             Brookly                  N           fings          Coúntÿ        isocid            1955           Lotf1ln           the    5tate         of New             York          hereinafter             the
                     "Premises?)             has         beeh       sold in foreclisure                           pursuani cÒ                   a-Referee's            Deed         dated                                                     Ä copy
                                                                                                                                                                                                    February               28,     2022.
                     of a certified                opy of the                Referees               Deed         is attaclied-hereto.                                              .

                                    .PI.ÉAS          TANE         NOT CEdh                     t purstrant            to.the             Referee's                         5904
                                                                                                                                                               Deed;                    Foster         Avenue              Trust         ("Owne              }
                     5 the     owne!         of, apd entitled                         th the                                                                trie
                                                                                                    irnmediate.possession.of,                                         Prernises;and                  by keason                  therefore,         you,
                     yout      family,friends                   .congregants                       members,.licensees,-and                                 all the.other                persons         cfaiming                 under       you    are
                     no-longer          entitled             to possession                                         and=that                your
                                                                                               thereof;                                                 contincance               irrpossession                    of      said                          is.
                                                                                                                                                                                                                                      Premises
                     withogt        the permission                      of owner


                                    PLEASE           TAKE         NOTICE.thar                      the     undersigned                     hereby          demands               that        you     and      aff other               persons           so
                     occupying          said        premises                 teinove            therefrom              and           deliveS            possession              thereof            to.the          undersigned                on        or
                 before          ten       (1C .days-after                   completion                  of service            of this           ndtice      upon         you.

 .   .                 .            P EASETAKE                  FUSTHER                   NOTl.C.E that             upon            your        failure      th_do        so, a motion                will.be           filed     in a court        of        .
                 . topeR‚isdic$csto                              evict:an(rerhove.you                               from         the       premises.

                 .     ..       . TAKE         FURTHER'NOT1 E                              that        if you.are.a              servicemember                        or the       dependent                 of a servicemerdber.
                 during         a period            of                        service'you                          be entitled
                                                           rrillitary                                    may                                    to a stay         ofthe         proceedings                 for         period         of ninety
             . 90Fdays               oran          adjustment                 of the rentabfigation                            pursuint            to the5ervicemembers
                                                                                                                                                                                                      CMI         Relief        Act
                 You.mdst              immediately                   provide               proof                                                                                                                                       ("SCRA"),
                                                                                                         ¾f military                service        to      determine                                   for
                 rights        under     SCRA..                                                                                                                                  eligibility                      possible            additional


                                 TAf(E         FURTH             R          NOT C              that,       coimterparts                     of      this
             transmitted                   in one                                                                                                              Ten-Day         Notice,     whether-
                                                          or more             counterparts                                                                                                                                      executed           or
                                                                                                            by electronic                  signature,              irik signature,     hard copy,
                                                                                                                                                                                                                           fac3imile,         or e
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                             5904FOSTER       AVENUE       TRUST
                            c/o      RICHARD                            L YELLEN                                 &ASSOCIATES,                                          LLP

                                                  M1         BROADWAY,                                               SUITEd                403
                                              NEW            YORK,                           NEW YORK                             10006



      1Mil      each   ef soth     toanterparts          in whate                er format              shalt    he deerned        an original                 for   an purposes,   includog
      without      limitation      the     purpose      of filing             with     the           ourt.                                  .


                   Dacedi       November          9   2022                                                              .    .




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                Nicholas Yokos, Esq., an attorney duly admitted to practice before the Courts of the State of
         New York certifies and affirms pursuant to CPLR 2105 and CPLR 4543 that this copy has been compared
         by me with the original electronically filed on ACRIS, and found to be a true and complete copy.



         Dated: December 15, 2022




                                                               ________________________________

                                                                       Nicholas Yokos, Esq.
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